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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA




IN RE BED BATH & BEYOND                                  Case No. 1:22-cv-2541-TNM
CORPORATION SECURITIES LITIGATION
                                                         CLASS ACTION




THIS DOCUMENT RELATES TO: ALL ACTIONS

 DECLARATION OF VICTOR L. HOU IN SUPPORT OF MOTION FOR ADMISSION
                           PRO HAC VICE


       I, Victor L. Hou, submit this Declaration in support of the motion for my admission pro

hac vice as counsel for Defendant Bed Bath & Beyond Inc. (improperly named in the Complaint

as Bed Bath & Beyond Corporation) in the above captioned action. Pursuant to Local Civil Rule

83.2(d), I state as follows:

       1.      My full name is Victor L. Hou.

       2.      My office address is Cleary Gottlieb Steen & Hamilton LLP, One Liberty Plaza,

New York, NY 10006, an my telephone number is (212) 225 2000.

       3.      A list of all bars to which I am admitted is found at Exhibit A attached hereto.

       4.      I have never been disciplined by any bar.

       5.      I have not been admitted pro hac vice in this Court within the last two years.

       6.      I do not engage in the practice of law from any office located in the District of

Columbia; I am not a member of the District of Columbia Bar; and I do not have an application

for membership pending.
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       7.      A certificate of good standing, issued by the Appellate Division of the Supreme

Court of the State of New York (First Department), is found at Exhibit B attached hereto.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on December 28, 2022 in New York, New York.


                                             CLEARY GOTTLIEB STEEN & HAMILTON LLP


                                             ______________________________________
                                             Victor L. Hou
                                             One Liberty Plaza
                                             New York, NY
                                             Telephone: (212) 225-2000
                                             Email: vhou@cgsh.com

                                             Counsel for Defendant Bed Bath & Beyond Inc.




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                        Exhibit A
                      Bar Admissions
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                               Victor L. Hou Court Admissions

                Court Name                                      Date of Admission

Supreme Court, State of New York, First          June 15, 1998
Department

United States District Court, Southern District April 13, 1999
of New York

United States District Court, Eastern District   December 14, 2010
of New York

United States Court of Appeals, Second           December 8, 2015
Circuit

Supreme Court of the United States               November 28, 2016

United States District Court, Eastern District   May 28, 2020
of Michigan

United States Court of Appeals, Ninth Circuit    March 10, 2021

United States Court of Appeals, Third Circuit    June 1, 2021
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                       Exhibit B
        State Court Certificate of Good Standing
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           Appellate Division of the Supreme Court
                    of the State of New York
                   First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                         Victor L. Hou
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on June 15, 1998,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of New York on
                            December 22, 2022.




                                       Clerk of the Court




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                   Supreme Court of the State of New York
                    Appellate Division, First Department
                                             ROLANDO T. ACOSTA
                                                PRESIDING JUSTICE
 SUSANNA MOLINA ROJAS                                                                  MARGARET SOWAH
      CLERK OF THE COURT                                                               DEPUTY CLERK OF THE COURT




To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                            Susanna Rojas
                                                            Clerk of the Court




Revised October 2020



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